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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
                              BOSTON DIVISION


SONATE CORPORATION D/B/A
Vegadelphia FOODS,
                    Plaintiff,
                                               Civil Action No. 1:23-cv-10690
        vs.

BEYOND MEAT, INC., a Delaware
corporation,
                       Defendant.


       DEFENDANT BEYOND MEAT, INC.’S MEMORANDUM OF POINTS AND
      AUTHORITIES IN OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE
          TESTIMONY AND OPINIONS OF EXPERT RICHARD GEORGE




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        Defendant Beyond Meat, Inc. (“Beyond Meat”) hereby files this Memorandum in

Opposition to the Motion to Exclude the Expert Opinions of Dr. Richard George filed by Sonate

Corporation (“Sonate”) (Doc. 192).

                                     I. INTRODUCTION

        This trademark infringement action is based on Sonate’s assertion that Defendants’ use of

Great Taste, Plant Based infringes upon its trademark, ”WHERE GREAT TASTE IS PLANT

BASED” (the “Sonate Slogan”). A central issue in this case is whether the Sonate Slogan is strong

or weak, which, among other things, is an important likelihood of confusion factor on its own, and

also impacts the degree of similarity required to show actual confusion. See Cue, Inc. v. GM LLC,

2016 U.S. Dist. LEXIS 99624, *30 (D. Mass. 2016) (“Use of similar marks by third-party

companies in the relevant industry weakens the mark at issue.”) (quoting M2 Software, Inc. v.

Madacy Entm't Co., 421 F.3d 1073, 1088 (9th Cir. 2005)). Another issue is whether Defendants’

use of Plant Based and Great Taste is used as descriptive messaging to fairly and accurately

describe qualities of Defendants’ plant-based products. See, e.g., KP Permanent Make-Up, Inc. v.

Lasting Impressions I, Inc., 543 U.S. 111, 124 (2004) (discussing fair use defense);

        To that end, Beyond Meat offered an expert report prepared by Dr. Richard George (“the

Report”) that analyzes the strength of the Sonate Slogan and the generic/descriptive use of Plant

Based and Great Taste on plant-based products. See Dr. George Report, Doc. 191-1. Sonate seeks

to exclude the Report on numerous meritless grounds, which all amount to irrelevant nitpicking

and ignore the standard of admissibility. Dr. George’s impressive and substantial credentials and

experience in food marketing no doubt qualify Dr. George as an expert. His use of reliable,

verifiable data and his thorough analysis render the report admissible.




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                                 II. SUMMARY OF REPORT

A.      QUALIFICATIONS

        Dr. George is Professor Emeritus in the Department of Food Marketing at Saint Joseph’s

University in Philadelphia. He has regularly taught food marketing courses in the university’s

Executive Food Marketing Master’s Program. Id., ¶ 12, Doc. No. 191-1 at 7-8. For six years, he

held a fellowship involving long-term research projects, including one with the Food Marketing

Institute. Id. ¶ 10, Doc. No. 191-1 at 7. In addition to his academic role, he has more than 40 years

of experience in food marketing, including as a marketing researcher, brand manager, and

consultant. Id. ¶ 4, Doc. No. 191-1 at 5-6. He speaks regularly to food trade organizations, and has

served on the board of directors of a foodservice broker and a foodservice distributor. He has

authored or co-authored 21 books and 64 scholarly articles on food marketing. Id. ¶ 11, Doc. No.

191-1 at 7.

B.      RESEARCH

        Dr. George discussed the importance of taste in success of food products, which results in

taste being the “clear top driver of brand predispositions,” a claim supported by the $2.9 billion

spent in 2021 in the U.S. to advertise great tasting products. Id. ¶¶ 41-42, Doc. No. 191-1 at 19-

23. He then identified numerous food companies that use “great taste” in their marketing, including

many well-known brands like Coca Cola, McDonalds, Pepsi, and Special K. Id. ¶ 42, Doc. No.

191-1 at 19-23. These references were provided by Voluble Insights, a litigation research firm that

performed searches at Dr. George’s direction. Dr. George Depo. Pgs. 59-64, Doc. No. 191-2 at 8-

9. Each reference is supported by a URL. Dr. George Report, ¶ 42, Doc. No. 191-1 at 19-23.

        Dr. George asserts that the mere volume of such references, however, is insufficient to

conclude that consumers associated the phrase with specific brands. Id. ¶ 44, Doc. No. 191-1 at



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23-24. Rather, actual consumer usage must be analyzed. Id. In order to examine consumer use, Dr.

George reviewed social media, product reviews, search activity, and press usage. Id.

        Therefore, Dr. George identified the ten most popular food products and the ten most

popular beverage products in the U.S., as ranked by YouGov. Id. ¶ 45, Doc. No. 191-1 at 24. Using

the Brandwatch platform, Dr. George analyzed those top-10 products as discussed by X (formerly

Twitter) users and provided screenshots of numerous X posts showing generic use of “great test”

in various posts. Id. ¶¶ 45-46, Doc. No. 191-1 at 24-29. Dr. George also looked at product reviews

and Google search results, as well Id. ¶¶ 48-52, Doc. No. 191-1 at 30-36.

        Dr. George provided his expert opinion on the history, usage, and popularity of the term

“plant based” and the general vegan meat industry. Id. ¶¶ 54-58, Doc. No. 191-1 at 36-38. He

provided data and examples on the use of “plant based” as grocery store product categories (¶¶ 59-

62), in product marketing (¶¶ 63-64), in Brandwatch-assisted consumer uses on X, depicted in a

word cloud (Id. ¶ 66), and in hashtags (Id. ¶¶ 67-69). Doc. No. 191-1 at 38-53. Dr. George also

utilized a Brandwatch-assisted estimate of the audience sizes correlating to posts using “plant

based,” and noted that the top 20 accounts are primarily individual accounts, with none related to

Sonate. Id. ¶¶ 69-70, Doc. No. 191-1 at 53-54. In a fourth line of inquiry, Dr. George ran a Google

Trends report on the term “plant based,” which revealed that the top 25 Google searches containing

“plant based” were each unrelated to any brand or company. Id. ¶ 71, Doc. No. 191-1 at 54.

Similarly, a Google search for “plant based” did not provide any results in which the term appeared

in a trademark context until the second page of results. Id. ¶ 72, Doc. No. 191-1 at 56-57.

        Following his analysis of “great taste” and “plant based” alone, Dr. George identified

numerous references of the terms used together, including in a slogan for a vegan restaurant, on




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product packaging, as a slogan for a third-party vegan meat company, in grocery store ads, and on

social media. Id. ¶¶ 77-91, Doc. No. 191-1 at 60-88.

        Relying on all of this data, Dr. George then applied the Barrier Outcomes (“BAO”) model,

which requires assessment of barriers to achieving secondary meaning, actions taken to overcome

those barriers, and marketplace outcomes of successful actions. Id. ¶ 93, Doc. No. 191-1 at 88-89.

As explained in the report:

            The BAO model can be used as a guide for assessing whether a particular
            brand element has acquired distinctiveness: considering the specific pre-
            existing barriers faced by the brand element in question, has the brand owner
            taken actions to overcome those barriers, and is the success of those actions
            illustrated through measurable marketplace outcomes? As Golder et al.
            explain, “[s]econdary meaning is most likely when barriers are low, company
            actions are well planned and executed, and empirical marketplace outcomes
            indicate that consumers view the brand element as a source identifier.”

Id. ¶ 94, Doc. No. 191-1 at 90. Dr. George opined that, based on (1) the significant generic use of

the terms “great taste” and “plant based” both separately and together, as identified earlier in the

report, (2) Sonate’s limited use of its slogan, and (3) Sonate’s sales exclusively within the food

service supply chain, Sonate faces significant barriers in acquiring consumer recognition of its

trademark. Id. ¶¶ 98-102, Doc. No. 191-1 at 91-93. Dr. George further noted additional deposition

testimony revealing that there is little or no consumer-facing use of the Sonate slogan, even by the

restaurants that buy vegan meat from Sonate. Id. ¶¶ 101-06, Doc. No. 191-1 at 92-94. Dr. George

opined that Sonate’s few customers are more sophisticated buyers and highly unlikely to make

purchase decisions in relation to slogans,” but who instead “look for sales information, market

research, and otherwise rely on existing relationships and payment structures.” Id. ¶ 107, Doc. No.

191-1 at 94-95.

        Dr. George then applied the “actions” portion of the BAO model and examined what steps

Sonate has taken to overcome the recognition barriers that it has faced. Id. ¶ 109, Doc. No. 191-1


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at 95. He analyzed Sonate’s marketing activity and brand enforcement efforts, which were

minimal. Id. ¶¶ 110-113, Doc. 191-1 at 95-97. Dr. George noted that Sonate had not engaged in

the key “actions” that would overcome barriers; namely, “developing meaningful distributor

partnerships; utilizing digital marketing strategies; offering samples and conducting product

demonstrations (called “Cuttings”); providing educational content, such as recipe ideas, cooking

tips, and usage guides; offering incentive programs, such as discounts, rebates, or loyalty rewards;

and highlighting sustainability practices and health benefits.” Id. ¶ 114, Doc. No. 191-1 at 97-98.

        Finally, Dr. George examined the “outcomes” element of the BAO model, which requires

analyzing sales, consumer recognition, and media and competitor recognition. Id. ¶ 115, Doc. No.

191-1 at 98. Dr. George notes Sonate’s low sales and minimal internet references, which were

almost entirely related to this lawsuit. Id. ¶¶ 116-118, Doc. No. 191-1 at 98-100.

        Dr. George concludes that application of the BAO model “demonstrates a lack of evidence

that customers or the foodservice industry readily identify or exclusively associate [Sonate] with

its slogan ‘Where Great Taste is Plant Based.’” Id. ¶ 127, Doc. No. 191-1 at 103.

                                       III. ARGUMENT

A.      LEGAL STANDARD

        The requirement that an expert’s testimony must be based on a reliable scientific

foundation is often the “central focus of a Daubert inquiry.” Ruiz-Troche v. Pepsi Cola of P.R.

Bottling Co., 161 F.3d 77, 81 (1st Cir. 1998). That requirement ensures that “the reasoning or

methodology underlying the testimony is scientifically valid and . . . that [the] reasoning or

methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at 592-93. In other

words, Rule 702 requires the court to “ensure that there is an adequate fit between the expert's

methods and his conclusions.” Samaan, 670 F.3d at 32 (citing Daubert, 509 U.S. at 591). A court



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may choose to exclude an expert’s opinion when it is “based on conjecture or speculation from an

insufficient evidentiary foundation,” Damon v. Sun Co., 87 F.3d 1467, 1474 (1st Cir. 1996)

(internal quotation marks omitted), or when it is “connected to existing data only by the ipse

dixit of the expert.” General Elec. Co., 522 U.S. at 146.

        The court may not subvert the role of the fact-finder in assessing credibility or in weighing

conflicting expert opinions. Rather, “[v]igorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the traditional and appropriate means

of attacking shaky but admissible evidence.” Id. at 596; see also Ruiz-Troche, 161 F.3d at 85

(admitting testimony notwithstanding a lack of peer-reviewed publications because the opinion

rested upon good grounds generally and should be tested by the “adversary process”).

        Sonate seeks to exclude Dr. George’s report on numerous hyper-technical grounds. (DOC.

192). Each is meritless. Indeed, to the extent Sonate wants to make these arguments, it should do

so to a jury, which can determine the appropriate weight to give Dr. George’s Report.

B.      A SURVEY WAS NOT REQUIRED OR APPROPRIATE IN THIS CASE

        Sonate argues that, even though Dr. George did not prepare a survey, that he should be

excluded with “red warning lights” because he is not qualified to prepare surveys. Motion at 3. It

should go without saying that an expert should not be disqualified on the basis of his lack of

expertise in irrelevant skills that were not employed, required, or even useful, to the expert’s report

or conclusions.

        Sonate then argues that Dr. George’s report is not admissible because it is not a survey.

Motion at 3. Yet, evidence of unpoliced, unabated third-party use in a relevant industry is highly

relevant to distinctiveness and strength. See Borinquen Biscuit Corp. v. M.V. Trading Corp., 443

F.3d 112, 121 (1st Cir. 2006) (identifying factors relevant to trademark strength, including the



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trademark holder's renown in the industry, the potency of the mark in the product field as measured

by the number of similar registered marks, and the trademark holder's efforts to promote and

protect the mark). Thus, Sonate is arguing that it is inadmissible to present expert opinion on

distinctiveness premised on metrics established by law. This is not the case, as underscored by the

very case cited by Sonate.

        In Yankee Candle v. Bridgewater Candle, 259 F.3d 25, 37 (1st Cir. 2001), the First Circuit

noted the absence of a survey, and the absence of “any circumstantial evidence indicating the

public had made a conscious connection between the trade dress at issue and [plaintiff] as the

source of that trade dress.” (emphasis added). In other words, the Court expressly referenced

precisely the type of evidence in Dr. George’s report as relevant, and missing, in the case it

reviewed.

        Sonate also mischaracterizes the treatise McCarthy on Trademarks, which in no way

suggests that a report like the one prepared by Dr. George is inadmissible or unhelpful. Rather,

McCarthy states the opposite: that “it is entirely proper and relevant for a qualified expert witness

to opine as to these subsidiary factual questions, such as the ways in which the goods or services

are sold and advertised.” McCarthy on Trademarks, § 23:2.75. Notably, the McCarthy quote

referenced by Sonate discourages the use of non-survey expert opinion on the ultimate question of

likelihood of confusion, an issue Dr. George did not address.

        Sonate also improperly relies on LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A., 209

F. Supp. 3d 612, 637-39 (S.D.N.Y. 2016). While that court did strike the plaintiff’s expert, it did

so for reasons that do not exist here. The LVL expert did not have any background in fashion

marketing, no training performing empirical analyses, had never been retained as an expert, and

“did not conduct a marketing analysis.” Id. (emphasis added). Perhaps most fatally, he claimed to



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have reviewed more than 100,000 social media posts, when in fact, he could only reproduce twelve

of the posts he reviewed such that it was “impossible to reconstruct” the expert’s searches or test

his methodology. Id. at 644-45. None of these deficiencies exist in the qualifications, data,

methodology, or conclusions provided by Dr. George.

         To the extent Sonate argues that its incontestable registration renders the Report moot, this

assertion is wrong. Motion at 3. Sonate’s incontestable status bears absolutely no weight as to the

relative strength of its trademark. “Incontestability and secondary meaning are distinct from a

mark’s strength.” US Ghost Adventures, LLC v. Miss Lizzie's Coffee LLC, 121 F.4th 339, 351 (1st

Cir. 2024). (Plaintiff’s “insistence that its marks are incontestable…does little to advance its claim

that its marks are strong.”)

         As a final point on this issue, surveys are not required. Shire City Herbals, Inc. v. Blue, 410

F. Supp. 3d 270, 295 (D. Mass. 2019), citing Colt Defense LLC v. Bushmaster Firearms, Inc., 486

F.3d 701, 706, n. 4 (1st Cir. 2007). Moreover, in this case, such a survey was not practical for a

variety of reasons. George Depo., pgs. 186-87, Doc. No. 191-2 at 32. Tellingly, Sonate did not

conduct a survey to demonstrate the alleged strength of its mark.

C.       DR. GEORGE IS A QUALIFIED EXPERT

         Sonate argues that Dr. George is not a qualified expert because he has not previously

offered expert testimony on the issue of distinctiveness. Motion at 4. This argument presumes that

a proffered expert can only present a reliable opinion on an issue if he has done so before. This is

clearly not the law.1 See, e.g., Yamaha Int'l Corp. v. Hoshino Gakki Co., 840 F.2d 1572 (Fed. Cir.

1988) (upholding decision to admit the expert testimony of a guitar-maker and a jazz guitarist on



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          Indeed, the imposition of such a rule would, in due time, eliminate all experts, as no new expert could
ever achieve a “first time” testifying on a particular topic to be qualified thereafter.


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the issue of secondary meaning even though the experts had no empirical experience) (affirming

Yamaha Int'l Corp., 231 U.S.P.Q. (BNA) ¶ 926, 1986 TTAB LEXIS 18 (P.T.O. Oct. 9, 1986)

(noting the experts’ “professional ‘lifetimes’ of observation and experience” made it unnecessary

for them to be “experts in conducting consumer surveys or to have actually conducted such

surveys.”)).

        Sonate again relies on LVL, arguing that Dr. George’s experience is akin to the disqualified

expert in that case. The deficiencies noted by the LVL court simply do not exist here. The LVL

court was clear that its chief concern regarding the expert’s credentials was his lack of empirical

training, as the expert was a newly-minted lawyer with no empirical training, and whose report

involved no empirical methodology. LVL, 209 F. Supp. 3d at 639 (“The expertise most germane to

such a determination thus involves training or experience performing empirical analyses. But as

to this critical qualification, Colman’s credentials are woefully deficient.”). Here, Dr. George has

decades of experience performing empirical research on matters relating to food marketing – skills

he applied to the empirical analysis he provided in the present Report.           (For the Court’s

convenience, we have attached hereto as Appendix A, excerpts from the George CV, which is

included in his Report (Doc. 191-1), reflecting examples of his empirical research).

        Sonate also relies on Price v. L'Oréal United States, Inc., arguing that the case mandates

that an expert have specialized knowledge in precisely the product at issue. 2020 U.S. Dist. LEXIS

153255 (S.D.N.Y. Aug. 24, 2020). Yet Price makes no such holding. The Price court excluded a

portion of the expert’s report, not because the expert had insufficient credentials, and not because

he lacked specific experience with the exact product at issue, but because his research was largely

outside the timeframe relevant to the facts of the case, and he failed to maintain his records such

that his “methodology [could not] be tested, challenged or replicated. Id. at *11-13. The Report



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here presents no such deficiencies, as Dr. George’s Report is based on data that is cited and

identified (and therefore capable of duplication), and in the relevant time frame (discussed infra).

D.        DR. GEORGE’S USE OF INTERNET SEARCHES PERFORMED BY A VENDOR IS

          APPROPRIATE

          Sonate argues that Dr. George’s report is not expert testimony at all because he relies on

internet searches, asserting that a “jury does not need an expert for this information.” Motion at 6.

Sonate cites cases for the position that “[a] witness who does nothing more than review and

summarize data in a computer database is a lay witness, not an expert.” Id. at 7 (citing Henderson

v. Corelogic Nat'l Background Data, LLC, 2016 U.S. Dist. LEXIS 9885, at *11 (E.D. Va. Jan. 27,

2016)).

          Sonate’s argument ignores the analysis and conclusions in Dr. George’s Report.

Specifically, Sonate ignores Dr. George’s background as an expert analysis on food marketing,

brand elements, channels of distribution, and pricing impacts (see ¶¶30-37; 114), his industry

awareness of the impact of taste on purchasing decisions (¶¶ 38-42), his assessment of Sonate’s

marketing efforts and the impact of those efforts on the strength of the mark (see ¶¶111-13; 116-

18), and his analysis of food industry trends and usage related to the phrase “plant-based,” which

are instructive in assessing the consumer usage that arises from the search results (see ¶¶54-58).

Dr. George Report, Doc. No. 191-1 at 15-23, 36-38, 96-100. Sonate then ignores the fact that Dr.

George used all these sources of information as well as his industry expertise to assess the usage

of the Sonate slogan on materials intended to market the Sonate products within the supply chain,

where slogans and other consumer-facing marketing are less important. Id. ¶ 107, Doc. 191-1 at

94-95. In short, Dr. George’s report uses internet searches, but Dr. George’s report does not solely

consist of internet searches.



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        Moreover, Dr. George’s expertise is apparent in how he performed and used internet

searches, which included his ability to utilize specialized software like Brandwatch (¶¶ 45, 70) and

Google Trends (¶¶ 50, 71). Doc. 191-1 at 24, 33-34, 53-56. A lay person may be able to conduct

a Google search but would not be able to assemble the full suite of analyses in the report. Sonate’s

suggestion that any lay person could prepare Dr. George’s report is belied by even a cursory review

of the Report.

        Indeed, Dr. George relied on his expertise to consider top US based food brands (¶45) and

to assess how retailers use and understand the term “plant-based” (¶59). Doc. No. 191-1 at 24, 38-

41. The assembly of the internet searches, social media post analyses, and press reviews, as

presented alongside analysis of Sonate’s de minimis marketing budget (¶112) supported Dr.

George’s understanding of consumer data, the crowded food marketplace, and brand marketing,

such that he could assess whether or not there is evidence that consumers uniquely associate the

phrase “Where great taste is plant-based” with Sonate. (¶122). Doc. No. 191-1 at 96-97, 101-102.

        To the extent Sonate complains about Dr. George’s use of internet search results compiled

by a vendor, this complaint is meaningless unless Sonate can identify an actual problem with the

reliability of the data. Sonate makes no such complaint.

        Voluble assisted Dr. George in doing the legwork of collecting data. For instance, Voluble

located examples of brands that use “great taste” in marketing taglines, which are provided in

Figure 1 on pages 16-19 of Dr. George’s Report. Doc. No. 191-1 at 20-23. Sonate does not, because

it cannot, argue that these brands do not actually use the “great taste” phrasing. Nor does Sonate

argue that the pictures are altered, or that these examples could not be independently documented.

The same holds true for all the data in Dr. George’s report. The data is universally cited, and each

data set could be recreated.



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        It is critical to note here that the underlying issue here is the identification of examples that

show third-party use of terms. If 1,000 examples were located, and Dr. George chose 20 to show

in his report, the failure to include the other 980 does not call into question the reliability of the 20

he included in his report. Indeed, any missing examples would have only served to bolster his

conclusions. Sonate cannot meaningfully complain that the entire list of 1,000 results was not

produced here because such exclusion could not possibly harm Sonate or its efforts to show the

strength of its slogan.

        In short, the mere fact that a vendor assisted Dr. George in compiling examples bears

absolutely no relevance to the reliability of the data. Unless Sonate can point to an actual problem

with the data, it cannot complain that Dr. George retained a vendor to assist with its collection. See

Faulkner v. Arista Records LLC, 46 F. Supp. 3d 365, 385 (S.D.N.Y. 2014) (“[A]n expert may rely

on assistants or the opinions of other experts in formulating their own expert opinions.” (citing

Dura Auto Sys. of Ind. v. CTS Corp., 285 F.3d 609, 612 (S.D.N.Y. 2014))); Malletier, 525 F. Supp.

2d at 664 (“It is true that experts are permitted to rely on opinions of other experts to the extent

that they are of the type that would be reasonably relied upon by other experts in the field.” (citing

Fed. R. Evid. 703)).

        It should also be noted that search results like the ones Dr. George collected are a standard

means of assessing third party use. See 2 McCarthy on Trademarks § 15:30 (“[S]earch engine

results, such as those of Google, can be an accurate proxy for the meaning and distinctiveness of

words. This is because Google's search algorithm that determines listings is based on the frequency

with which users click on the top search results and is generally able “to predict what online content

consumers associate with a search term.”), quoting/citing Ouellette, The Google Shortcut to

Trademark Law, 102 Calif. L Rev 351, 363 (2014) (“My narrowest claim is that Google and other



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online search results can serve a function similar to survey data for evaluating distinctiveness

where time or cost constraints make it infeasible to conduct a survey.… My broader claim is that

Google results can supplant a significant portion of current trademark strength and likelihood-of-

confusion inquiries.” 102 Calif. L Rev at 406).

E.      QUALITATIVE ANALYSIS DOES NOT REQUIRE A SET NUMBER OF THIRD-PARTY USES

        Sonate argues that Dr. George’s report lacks quantitative rigor because he could not identify

a specific number of third-party uses that render a particular trademark weak. Of course Dr.

George could not answer this question because it is un-answerable. No magic number exists, and

indeed, no legal authority suggests that it does.

        Sonate’s case, Spin Master v. Zobmondo Entm’t, does not suggest that an expert must

identify a specific threshold of third-party uses to perform a reliable analysis. The proffered expert

in Spin Master was excluded because he relied on only four examples to make the broad conclusion

that the plaintiff’s mark was generic. 2012 U.S. Dist. LEXIS 188155 (C.D. Cal. Apr. 27, 2012).

When the expert attempted to add a list of 190 references to his report, he did not update the report

to “explain[] what these sources are or how he relied on them, whether by way of a supplemental

report, deposition testimony, . . . or even a declaration.” Id. at * 69-70. The list of 190 results was

excluded on this basis, not because 190 was a relevant number of results. While this case may be

cited for the proposition that four third-party uses does not make a trademark generic, neither this

case, nor any other, requires a magic number of third-party uses or an expert who could invent

such a number.




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F.      DR. GEORGE’S REPORT EMPLOYED QUALITATIVE RIGOR

        Sonate argues that Dr. George “pays no heed to the quality of the ‘examples’ he chose,”

arguing that Dr. George did not focus on geography. Motion at 14 (emphasis original). This

assertion is demonstrably untrue.

        Sonate’s assertion ignores the evidence provided in the report relating to numerous U.S.

brands and U.S. websites. To the extent any individual reference in the report may relate to a

company that markets outside the United States, such references are so de minimus that they bear

no impact on the reliability of the report, and would not impact the conclusions. Indeed, Sonate

cannot dispute that Hellman’s and Impossible Foods used the “great taste” and “plant based”

phrases together in slogans in 2020 in U.S. marketing campaigns, a fact that perhaps provides the

greatest evidence of weakness of Sonate’s slogan. (see ¶¶78-79). Moreover, a jury would be free

to disregard a single non-U.S. example within the Dr. George report if so instructed. Doc. No. 191-

1 at 61-63.

        Sonate also makes meritless arguments that Dr. George did not appropriately employ or

identify time period limitations. Motion at 15. As an initial matter, the Report identifies the relevant

time period for the data: 2019-2024 in Fig. 12 (¶50); 2014-2024 in Fig. 31 (¶66); 2019-2024 in Fig

34 (¶71, see URL); 2014-2024 in Fig 64 (¶88); 2018-2024 (¶118, see URL). Doc. No. 191-1 at 33-

34, 51, 54-56, 82, 99-100.

        More importantly, Sonate ignores the current law in arguing that third-party uses are

irrelevant if they post-date the infringement period. Sonate cites to three unreported, out-of-circuit

district court cases for the proposition that secondary meaning and distinctiveness are tested as of

the time of infringement. Motion at 15. Sonate’s string cite purports to show that post-infringement

evidence of use is irrelevant and inadmissible, but this view is both myopic and wrong as a matter



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of law. Notably, each of these cases involve evidence from plaintiffs attempting to prove secondary

meaning. More recently, other courts, including one in this district, have allowed post-infringement

evidence to be admitted by defendants to show a lack of secondary meaning. Bern Unlimited, Inc.

v. Burton Corp., 95 F. Supp. 3d 184, 203 (D. Mass. 2015) (allowing a survey taken well after the

time of infringement and instead “examin[ing] the timing to determine the strength of the

evidence.”); see also Black & Decker Corp. v. Positec USA, Inc., 2015 WL 5612340, *9-10 (N.D.

Ill. Sept. 22, 2015) (finding that evidence of secondary meaning after the alleged infringement was

relevant); YETI Coolers, LLC v. RTIC Coolers, LLC, 2017 U.S. Dist. LEXIS 11957, at *7 (W.D.

Tex. Jan. 27, 2017) (explaining that the expert’s “analysis of post [infringement] evidence does

not render his opinion unreliable” and that “reliance on evidence after the alleged infringement

date goes to the weight, rather than admissibility, of his testimony”). See, e,g., 1 McCarthy on

Trademarks and Unfair Competition § 11:80 (5th ed.) (“[t]he marketplace strength of the mark

must be evaluated at the time of litigation or at the time registration is sought.”); Florida

International University Board of Trustees v. Florida National University, Inc., 830 F.3d 1242,

1258 (11th Cir. 2016) (“It is surely true that focusing solely on conceptual strength is an

‘incomplete’ method of analysis, since we are also required to examine ‘the marketplace strength

of the mark at the time of litigation or at the time registration is sought.’”).

        Defendant does not dispute that Plaintiff owns an incontestable registration for the mark,

or that the registration is valid.   What Sonate failed to contest—and therefore waives—is the

probative value of the evidence in the George Report on the strength of Plaintiff’s Mark. As the

First Circuit has made clear, an incontestable registration relates to the validity of the registration,

and is not an indicator of the mark’s strength. US Ghost Adventures, LLC v. Miss Lizzie's Coffee

LLC, 121 F.4th 339, 351–52 (1st Cir. 2024).



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        The evidence in the Report shows voluminous examples of third-party use of “plant based,”

“great taste,” and the terms combined, in association with plant-based meat substitutes. This

evidence is highly probative of the strength (or rather, weakness) of Sonate’s Slogan because

“third-party use of similar marks on similar goods is relevant to show that a mark is relatively

weak and entitled to only a narrow scope of protection.” Jack Wolfskin Ausrustung Fur Draussen

GmbH & Co. KGAA v. New Millennium Sports, S.L.U., 797 F.3d 1363, 1373 (Fed. Cir. 2015)

(quoting Palm Bay Imps., Inc. v. Veuve Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d

1369, 1373 (Fed. Cir. 2005).

        The Federal Circuit Court of Appeals has held that “extensive evidence of third-party use

and registrations is ‘powerful on its face,’ even where the specific extent and impact has not been

established.” Id. at 1373–74 (quoting Juice Generation, Inc., 794 F.3d at 1339 (Fed. Cir. 2015).

This is, in part, because no evidence of actual use is even needed to bear on the strength of the

mark. When examining third-party registrations where no evidence of third-party use was shown,

the Federal Circuit explained that such registrations “are relevant to prove that some segment of

the composite marks which both contesting parties use has a normally understood and well-

recognized descriptive or suggestive meaning, leading to the conclusion that that segment is

relatively weak.” Juice Generation, Inc., 749 F. 3d at 1339; id. (quoting Tektronix, Inc. v.

Daktronics, Inc., 534 F.2d 915, 917 (CCPA 1976) for the proposition that this type of evidence

may be given some weight to show the meaning of a mark in the same way that dictionaries are

used”). Of course, this also bears on Defendants’ contention that its use of Great Taste, Plant Based

for plant-based products, constitutes a permissible fair use.

        Moreover, Sonate’s failure to police third-party use of its slogan likewise bears on the

weakness of the slogan. Third party registrations and use “weigh against the strength of plaintiff's



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marks to an extent because they indicate some level of diminished potency and failure to protect

the mark.” Polar Corp. v. PepsiCo, Inc., 789 F. Supp. 2d 219, 235 (D. Mass. 2011). The George

Report reaches a similar conclusion. Id. ¶ 109, Doc. No. 191-1 at 95.

        Finally, Sonate argues that the third-party references are irrelevant unless the report also

shows that consumers are familiar with those references. Motion at 16. Sonate cites to decades-

old cases that ignore current law. As explained by the Federal Circuit, “[t]he “specifics” as to the

extent and impact of use of the third parties' marks may not have been proven, but in the

circumstances here, [appellant’s] evidence is nonetheless powerful on its face. The fact that a

considerable number of third parties use similar marks was shown in uncontradicted testimony.”

Juice Generation, Inc. v. GS Enterprises LLC, 794 F.3d 1334, 1339 (Fed. Cir. 2015); see also

Calamari Fisheries, Inc. v. Vill. Catch, Inc., 698 F. Supp. 994, 1008 (D. Mass. 1988) (accepting

list of restaurants with word “catch” in name as evidence of third party use); Unleashed Doggie

Day Care, LLC v. Petco Animal Supplies Stores, Inc., 2011 U.S. Dist. LEXIS 148786, *17 (D.

Mass. 2011) (accepting list of marks in trademark search report as probative of mark’s weakness).

        Moreover, much of Dr. George’s report is focused on consumer awareness. For example,

Figure 1 is comprised of actual advertisements for national, famous brands. Doc. No. 191-1 at 20-

23. His focus on Google searches (Figures 12, 34) and social media (Figures 32, 35, 65-69) relate

solely to how consumers search for and use the relevant terms. Doc. No. 191-1 at 33-34, 52-53,

55-57, 83, 86.

G.      THE BAO METHODOLOGY IS RELIABLE

        Sonate argues that Dr. George’s reliance on “BAO” methodology is unreliable. Motion at

17. Sonate first argues that it was improper to analyze Sonate’s slogan under the BAO analysis

without also analyzing Beyond Meat’s slogan under the same analysis. Motion at 17. This



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argument makes no sense. It is Sonate that brought this lawsuit concerning use of Sonate’s

trademark, making the strength of that trademark germane to this case. Setting aside the issue that

Beyond Meat used the terms “great taste” and “plant-based” generically, or at most, descriptively,

its use of the terms is irrelevant to the strength of Sonate’s Slogan.

        Sonate also asserts that the BAO methodology has not been tested or challenged, but in

support of this argument, cites to nothing but the distinguishable LVL case. Motion at 19. Sonate

never points to any specific reason that Dr. George’s report is untestable or un-challengeable.

Reports like Dr. George’s are routinely admitted even where no specific methodology is cited. See

YETI Coolers, LLC v. RTIC Coolers, LLC, 2017 U.S. Dist. LEXIS 11957, *10 (admitting

marketing expert report on secondary meaning over complaints that he “cherry picked” social

media comments because such analysis “does not readily lend itself to a formal or quantitative

methodology”); Louis Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 507

(S.D.N.Y. 2015) (admitting marketing expert report comprised of internet search results because

the expert “synthesize[d] this material and pull[ed] together common themes in reaching his

conclusions,” and even though an analysis may be qualitative does not mean that it is unreliable

for the purposes of Daubert.”).

        Sonate next complains the BAO method is unreliable because it includes various strength-

of-mark/consumer awareness factors that are not precisely those employed in the First Circuit. Id.

Such contention lacks merit as there is no requirement that an analytical methodology directly

overlap a legal test, nor should there be such a requirement. The BAO test is not a substitute for

legal analysis, and does not replace the application of relevant First Circuit law that would be

applied by a jury under proper instruction.




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        Sonate next argues that because the BAO model has not been used in litigation before or

subject to peer review, it is unreliable. Id. No such rule exists, and Sonate provides no support for

its argument. The rule that does apply is Rule 702(c), which requires that the expert’s opinion be

“the product of reliable principles and methods.” This “necessitates an inquiry into the

methodology and basis for an expert]s opinion.” Samaan v. St. Joseph Hosp., 670 F.3d 21, 31 (1st

Cir. 2012). Although the proponent of an expert witness bears the burden of proving the

admissibility of his opinion, see Daubert, 509 U.S. at 592, the burden is not especially onerous,

because     “Rule    702    has   been     interpreted   liberally    in   favor    of   the   admission

of expert testimony,” Levin v. Dalva Bros., Inc., 459 F.3d 68, 78 (1st Cir. 2006). “So long as

an expert’s . . . testimony rests upon ‘good grounds, based on what is known,’ it should be tested

by the adversarial process . . . .” Milward v. Acuity Specialty Prods. Group, 639 F.3d 11, 15 (1st

Cir. 2011) (quoting Daubert, 509 U.S. at 590).

        Sonate’s arguments relating to Dr. George’s report are similar to those raised and rejected

in Sterilite Corp. v. Olivet Int'l, Inc.. In Sterilite, the plaintiff’s expert provided an expert report on

the issue of secondary meaning of the plaintiff’s trade dress. 2024 U.S. Dist. LEXIS 177064, *14

(D. Mass 2024). The court noted that the expert’s report “does not rest primarily ‘upon scientific

foundation,’” such that the inquiry is “whether the expert employs in the courtroom the same level

of intellectual rigor that characterizes the practice of an expert in the relevant field.” Id. The expert

met that standard as, very much like Dr. George, his experience drew on 30 years of development

and marketing, and he drew upon that experience “to analyze factors that, according to the First

Circuit, bear on whether trade dress has acquired secondary meaning, including the length and

manner of [plaintiff’s] use of its trade dress as well as its advertising efforts.” Id. The court noted

that any weaknesses in the report must be solved by a jury. Id. (citing Currier v. United Techs.



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Corp., 393 F.3d 246, 252 (1st Cir. 2004) (“[W]eakness in [an expert's] analysis [is] a matter of

weight rather than admissibility and thus properly a subject of argument and jury judgment.”)).

        Similarly, in IEP Techs., LLC v. KPM Analytics, Inc., the court allowed the plaintiff’s

industry expert to opine on several likelihood of confusion factors, including the strength of the

mark, based on his experience in industry marketing, noting there are “many different kinds

of experts, and many different kinds of expertise.” 2024 U.S. Dist. LEXIS 231686, *11-12 (D.

Mass 2024) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 150 (1999)).

                                      IV. CONCLUSION

        The question here is whether Dr. George based his opinion on conjecture, or based his

opinion on data that was analyzed in a reliable and meaningful way. The George Report provides

relevant data, supported by citations, analyzed in a reliable way. Any nitpicks should be managed

by cross examination, not exclusion. For the reasons set forth herein, Beyond respectfully requests

that the Court deny Sonate’s motion to exclude expert opinions and the related testimony of Dr.

George.



Dated: March 24, 2025                            Respectfully Submitted,

                                                 BUCHALTER
                                                 A Professional Corporation
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2025, Defendant Beyond Meat, Inc.’s Memorandum of

Points and Authorities In Opposition to Plaintiff’s Motion to Exclude Testimony and Opinions of

Expert Richard George Pursuant to Local Rule 7.2 was served by electronic mail on counsel of

record using the email addresses registered on the CM/ECF system.

                                                   /s/ Willmore F. Holbrow III
                                                     Willmore F. Holbrow III




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                                        APPENDIX A

                               Richard J. George, Ph.D.
                            Examples of Empirical Research
        Over the years, Dr. George has engaged in a significant amount of empirical research,
using a variety of data collection methods including surveys, case studies, and field observations.
For the convenience of the Court, the following provides examples of Dr. George’s empirical
research experience. The reference to the page of his CV, which is part of his expert report (Doc.
No. 191-1) are included.

SCHOLARLY ARTICLES

The following examples of empirical research studies were double-blind reviewed and published
in well-known journals:

"Mavens’ Price and Non-Price on Pack Extrinsic Cue Search Behaviours: Implications for Store
Brands," International Journal of Retail & Distribution Management, Volume: 45 Issue: 7/8,
2017 (with Dr. Alan Collins, University College Cork). (CV – Expert Report p. 103)

"Mavens' Search Behaviors and the Use of Cues: Implications for Store Brands,” Proceedings,
Colloquium on European Research in Retailing, June 2016, Toulouse, France (with Dr. Alan
Collins, University College Cork). (CV – Expert Report p. 103)

“Calculative Trust in the Consumer Market,” Proceedings, 18th Annual Irish Academy of
Management Conference 2015 (with Drs. Alan Collins, University College Cork; Ella Kavanagh,
University College Cork). (CV – Expert Report p. 103)

"From Store Brands to Store Brandscapes: The Emergence of a Time and Money Saving
Heuristic," The European Journal of Marketing 2015 (Vol. 49 Is: 5/6, pp.894 - 918) (with Drs.
Alan Collins, University College Cork; James Cronin, Lancaster University; Steve Burt,
University of Stirling). (CV – Expert Report p. 104)

“Time, Money and the Product Selection Decision.” Proceedings, 17th Annual Irish Academy of
Management Conference 2014 (with Drs. Alan Collins, University College Cork; James Cronin,
Lancaster University; Steve Burt, University of Stirling). (CV – Expert Report p. 104)

"Money, Mavens, Time and Price Search: Modeling the Joint Creation of Utilitarian and
Hedonic Value in Grocery Shopping." Journal of Marketing Management, (Volume 30, Issue 7-
8, June 2014, pages 719-746) (with Drs. Alan Collins, University College Cork; Ella Kavanagh,
University College Cork; James Cronin, Lancaster College UK). (CV – Expert Report p. 104)

“An Investigation into Store Brand Proneness.” Proceedings, International Food Marketing
Research Symposium, Budapest, Hungary, June 2013 (with Drs. Alan Collins, University
College Cork; Ella Kavanagh, University College Cork; James Cronin, Lancaster College UK).
(CV – Expert Report p. 104)

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 “In-Store Price Search and Store Brand: Saving Time and Money." Proceedings, XVII
International Conference on Research in the Distributive Trades of the European Association of
Education and Research in Commercial Distribution (EAERCD). Valencia, Spain, July 2013 (with
Drs. Alan Collins, University College Cork; Ella Kavanagh, University College Cork). (CV –
Expert Report p. 104)
“Store Deal Prone Shoppers: Motivators and Implications for the Supply Chain in a Distressed
Market.” The International Review of Retail Distribution and Consumer Research, Volume 22,
Issue 1, February 2012, pages 83-100 (with Drs. Alan Collins, University College Cork; Ella
Kavanagh, University College Cork). (CV – Expert Report p. 104)

“Modeling Store Deal Proneness: An Economic Perspective.” Proceedings, XVI International
Conference of the EAERCD, Parma, Italy, June 29 – July 1, 2011 (with Drs. Alan Collins,
University College Cork; Ella Kavanagh, University College Cork). (CV – Expert Report p. 104)

“School Day Eating Habits of Inner-City, African American Adolescents.” Journal of Negro
Education, Volume 78, Number 2, pp 114-122 (Spring 2009) (with Dr. Thomas McDuffie). (CV
– Expert Report p. 105)

“Adolescents and Food Attitudes and Behaviors during the School Day: Implications for Food
Marketers,” Journal of Food Products Marketing, Vol. 14, Issue 1, 2008 (with Dr. Thomas
McDuffie). (CV – Expert Report p. 105)

EMPIRICAL RESEARCH AS THE GERALD E. PECK FELLOW

As Professor of Food Marketing, Dr. George held the prestigious C.J. McNutt Chair of Research.
During which time he conducted empirical research, including consumer surveys, case studies &
field observations for the Food Marketing Institute (FMI) and International Foodservice
Distributors Association (IFDA). (CV – Expert Report p. 110). The results of the surveys and
associated research were six (6) published scholarly reports.

FMI EMPIRICAL RESEARCH PUBLICATIONS

“Mature Millennials: Food Retailing Attitudes and Behaviors,” Food Marketing Institute,
September 2009. (CV – Expert Report p. 105)

“Independent Operator Insights into Wholesaler Relations and Services,” Food Marketing
Institute, September 2008. (CV – Expert Report p. 105)

“The Past and Present Landscape of Food Wholesaling,” Food Marketing Institute, September
2007. (CV – Expert Report p. 105)

IFDA EMPIRICAL RESEARCH PUBLICATIONS

“Collaboration Pilot Results: Collaboration Works!!!” International Foodservice Distributors
Association, September 2012. (CV – Expert Report p. 104)

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“Mature Millennials V Mature Baby Boomers: Foodservice Attitudes and Behaviors -
Similarities, Differences, Opportunities.” International Foodservice Distributors Association,
September 2011. (CV – Expert Report p. 104)

“Perspectives on the Manufacturer-Distributor Relationship: How We Got Here and How to Move
Forward Together.” International Foodservice Distributors Association, November 2010. (CV –
Expert Report p. 104)

PROPRIETARY EMPIRICAL RESEARCH

Dr. George also served as the Facilitator for the Excel Share Group (ESG). The ESG is comprised
of top executives from the largest international Consumer Packaged Goods (CPG) companies,
including Coca Cola, Hershey, Ralston Purina, Kraft-Heinz, Gallo and others. During these recent
12 years, using a combination of surveys as well as case studies, I have designed, fielded, analyzed
the data, and published 62 empirical research-based industry-accepted studies – resulting in
confidential proprietary reports. (CV – Expert Report p. 120)

CONSULTING PROJECTS INVOLVING EMPIRICAL RESEARCH

Empirical research provided the foundation for Dr. George’s research and recommendations
regarding strategic and new product development work for a variety of companies, including:

Key Impact, Pate Dawson, Campbell Soup, Tenglemann, M&M Mars, Scott Paper, Tastykake,
Herr’s, WAWA, Melitta, Southern Gardens, Quick Chek, Fairmount Park Commission, Del
Monte, Mother’s Kitchen, Kozy Shack, Hood Dairies, Uncle Ben’s, Talinvest, Musgraves,
Consolidated Edison, and the Irish Food Board. (CV – Expert Report p. 122)




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